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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION
                Plaintiff,
                                            Case No. 1:20-cv-03590-JEB
     v.

META PLATFORMS, INC.
                Defendant.


  NON-PARTY SEQUOIA CAPITAL OPERATIONS, LLC’S MOTION TO QUASH
  DEPOSITION SUBPOENAS ISSUED BY THE FEDERAL TRADE COMMISSION
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       Non-party Sequoia Capital Operations, LLC (“Sequoia”) respectfully seeks an order

quashing the deposition subpoenas issued by the Federal Trade Commission (“FTC”) to Sequoia’s

top executive, Roelof Botha, and its former senior executive, James Goetz. (Attached as Exhibits

1 & 2). The deposition subpoenas seek discovery of information that is not relevant to any issues,

claims, or defenses in this antitrust litigation, and is cumulative of other information the FTC

already possesses. Moreover, deposing Sequoia’s top executive and its former senior executive on

topics more than a decade old is unduly burdensome and not proportional to the needs of this case.

                                        BACKGROUND

       Non-party Sequoia is a venture capital firm located in Menlo Park, California with over

$80 billion in assets under management. Sequoia focuses primarily on seed stage, early stage, and

growth stage investments in private companies across technology sectors. Mr. Botha is the Senior

Steward of Sequoia’s brand. This is the most-senior position at Sequoia. In addition to a very busy

schedule overseeing and representing Sequoia and managing the daily activity of the US and

Europe investment and back office teams, Mr. Botha also sits on the boards of a dozen companies.

Mr. Goetz held a similar position at Sequoia from 2012 until his retirement in 2017. Since retiring

from his role as a Sequoia Steward, he has dedicated much of his energy towards philanthropy.

       Messrs. Botha and Goetz’s sole connection to this case is Sequoia’s early seed, minority

investment in Instagram (2011) and WhatsApp (2012) before Meta Platforms (then Facebook)

acquired both companies. How this connection bears any relevance to this litigation remains a

mystery.

                                         ARGUMENT

   1. Lack of Relevance. Save for a passing statement in the Amended Complaint that

“[v]enture capital and other funding flowed to startups like Instagram…and WhatsApp,”



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(Amended Complaint at ¶ 6) there is no allegation relating to Sequoia’s investment in either

company. Although the FTC has not clearly articulated to Sequoia how Messrs. Botha’s and

Goetz’ testimony is relevant to any element of their Sherman Act Section 2 claim, Sequoia

understands the FTC’s position to be that Sequoia’s investment analyses for Instagram and

WhatsApp may be relevant to proving market definition and to establishing the narrative

surrounding those companies prior to their acquisition by Meta. Sequoia’s internal assessments

and valuations of Instagram and WhatsApp, however, are irrelevant to whether a “personal social

networking” is a properly defined antitrust market. Sequoia’s investment evaluations do not touch

on any key market definition considerations, including cross-elasticity of demand or reasonable

interchangeability. Indeed, Sequoia knows of no court that has relied on the internal investment

analyses (or testimony) of a non-party investor in defining an antitrust market. Moreover, the

circumstances in which Sequoia invested in Instagram or WhatsApp, its return on its minority

investments, or any relationship that Sequoia, Mr. Botha, or Mr. Goetz had with the founders of

either company do not bear on whether Meta violated the antitrust laws. Their testimony is

irrelevant.

    2. Cumulative. Even if any information that Messrs. Botha and Goetz possess is of any

relevance, the testimony the FTC seeks regarding Sequoia’s investments in Instagram and

WhatsApp is cumulative of information it already has or that it can obtain through less burdensome

means. Similarly, the FTC does not have a substantial need for this discovery from either of them:

it is not critical to this case. To the extent the FTC needs discovery regarding how industry

participants viewed the market at the time of Meta’s acquisitions of Instagram and WhatsApp, or

even the likelihood that Instagram and WhatsApp would have prospered independently and

competed against Facebook but for their acquisitions, any testimony from Messrs. Botha or Goetz



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would presumably be duplicative of other evidence. There is no question that the FTC has had

ample opportunity to obtain such discovery in this action, and the most relevant evidence on these

issues are either (1) in the FTC’s possession already (as it reviewed both acquisitions), (2) with

Instagram and WhatsApp (whose ordinary course business documents Meta has provided in

discovery or can provide), or (3) with the over 100 non-parties whom the parties have subpoenaed

in this case and who—unlike Sequoia—are likely actual industry participants.

    3. Undue Burden. Given the lack of relevance Messrs. Botha and Goetz’s deposition

testimony have to this case, any burden imposed on them and Sequoia is, by definition, undue. But

even if such testimony were relevant, it would not be proportional to the needs in this case.

Requiring that Sequoia’s top executive and its former senior executive prepare and sit for a

deposition about decade-old opinions, statements, and documents would be costly and disrupt Mr.

Botha’s work at Sequoia, and Mr. Goetz’s retirement and charitable work, alike. This burden is

magnified by the fact that the deposition subpoenas seek both of their individual testimony

unencumbered by any temporal or topical restrictions.

    In the interests of trying to minimize the burden to Messrs. Botha and Goetz—and avoid having

to bring this dispute before the Court—Sequoia offered to submit declarations in lieu of

depositions. The FTC refused that compromise.

                                                ***

         Sequoia has more than fulfilled its legal obligations to respond to discovery requests from

the FTC in this litigation. The FTC is seeking to engage in a burdensome fishing expedition at the

expense of a non-party that has nothing to do with this case. Sequoia, respectfully, wants no part

of it.




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Dated: November 7, 2022                  Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 7, 2022, I filed the foregoing Motion to Quash

Subpoenas Issued to Non-Party Sequoia Capital Operations, LLC with the United States District

Court for the District of Columbia using the CM/ECF system, and caused it to be served on all

registered participants via the notice of electronic filing (the “ECF”).




                                                      /s/ Samer M. Musallam
                                                      Samer M. Musallam

                                                      Counsel for Non-Party Sequoia Capital
                                                      Operations, LLC.




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